
The People of the State of New York, Respondent,
againstMichael Harden, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (John Cataldo, J.H.O.), rendered January 28, 2015, after a nonjury trial, convicting him of public urination, and sentencing him to a fine of $200 or, alternatively, to 15 days in jail.




Per Curiam.
Judgment of conviction (John Cataldo, J.H.O.), rendered January 28, 2015, modified, as a matter of discretion in the interests of justice, to vacate the alternative sentence of 15 days in jail; as modified, judgment affirmed. 
The verdict convicting defendant of public urination (see Administrative Code of City of NY § 16-118[6]) was supported by legally sufficient evidence and was not against the weight of the evidence. There is no basis for disturbing the trial court's determinations concerning credibility (see People v Bleakley, 69 NY2d 490, 495 [1987]).
As recommended by the People, the sentence, though legal (see CPL § 420.10[4][c]), is modified to the extent indicated. We have considered defendant's remaining contentions and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concurI concur
Decision Date: December 12, 2016










